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                UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF FLORIDA
                       TAMPA DIVISION
KEVIN CROFTON, JANICE
CROFTON and N. DUWAYNE
CROFTON 2007 IRREVOCABLE
TRUST,

      Plaintiffs,

v.                                                Case No: 8:20-cv-1411-T-02AAS
HEIGHTS MEAT MARKET, LLC,
DOUGLAS W. COOGLE, JR. and
LEE & DAVIS COUNTRY MEATS,
LLC,

      Defendants.
                                          /

                                       ORDER
      Upon due consideration of the Stipulation of Full FLSA Relief and

Voluntary Dismissal, or, alternatively, Joint Motion for Approval of the Settlement

of Plaintiff’s FLSA Claim, the Court finds it is unnecessary to approve the parties’

settlement attached to the motion as Exhibit A (Dkt. 11-1) pursuant to Lynn’s Food

Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982). The Court finds, as

the parties assert, there has been no compromise of the FLSA claim and judicial

approval is not required. The motion (Dkt. 11) is denied as moot. The case is

dismissed with prejudice. The Clerk is directed to close this case.

      DONE and ORDERED in Tampa, Florida on September 18, 2020.


                                          s/William F. Jung
                                        WILLIAM F. JUNG
                                        UNITED STATES DISTRICT JUDGE
